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                  EXHIBIT AB@
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                         Case No. 19-23131-Civ-SCOLA/GOODMAN

   EQUAL EMPLOYMENT
   OPPORTUNITY COMMISSION

          Plaintiff,
   &

   LOUISE DAVIDSON-SCHMICH,

          Plaintiff-Intervenor,
   vs.

   UNIVERSITY OF MIAMI,

         Defendant.
   ________________________________/

                        PLAINTIFF EEOC’S INITIAL DISCLOSURES

          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure and the Parties’
   agreement as contained in their Joint Scheduling Report, Plaintiff, the United States Equal
   Employment Opportunity Commission (“EEOC” or “the Commission”), hereby serves its
   mandatory Initial Disclosures upon Defendant University of Miami (“UM”). The
   Commission reserves the right to supplement these disclosures in accordance with Federal
   Rule of Civil Procedure 26(e).


   (A)    The name and, if known, the address and telephone number of each individual
          likely to have discoverable information—along with the subjects of that
          information—that the disclosing party may use to support its claims or defenses,
          unless the use would solely be for impeachment:


                  (1)   Louise Davidson-Schmich
                        c/o U.S. EEOC
                        Ana Consuelo Martinez
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                       100 SE 2nd Street, Suite 1500
                       Miami, FL 33131
                       (786) 648-5791

   Ms. Davidson-Schmich has information about her employment and compensation and
   benefits at UM.

                (2)    Gregory Koger
                       contact information unknown

   Mr. Koger has information about his employment and compensation and benefits at UM.

                (3)    George Gonzalez
                       contact information unknown

   Mr. Gonzalez has information about his employment and compensation and benefits at
   UM.


                (4)    Jonathan West
                       contact information unknown

   Mr. West has information about Ms. Davidson-Schmich’s employment and compensation
   and benefits at UM, as well as employment and compensation and benefits of Ms.
   Davidson-Shmich’s comparators.


                (5)    Leonidas Bachas
                       contact information unknown

   Mr. Bachas has information about Ms. Davidson-Schmich’s employment and compensation
   and benefits at UM, as well as employment and compensation and benefits of Ms.
   Davidson-Shmich’s comparators.


                (6)    Amy Marie Bowen
                       contact information unknown

   Ms. Bowen has information about Ms. Davidson-Schmich’s employment and compensation
   and benefits at UM, as well as employment and compensation and benefits of Ms.



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   Davidson-Shmich’s comparators. Ms. Bowen also has information about UM’s knowledge
   of and response to complaints of sex and/or compensation discrimination.


                 (7)    Bill Tallman
                        contact information unknown

   Mr. Tallman has information about Ms. Davidson-Schmich’s employment and
   compensation and benefits at UM, as well as employment and compensation and benefits of
   Ms. Davidson-Shmich’s comparators. Mr. Tallman also has information about UM’s
   knowledge of and response to complaints of sex and/or compensation discrimination.




                 (8)    Bonnie Muschett
                        contact information unknown

   Ms. Muschett has information about Ms. Davidson-Schmich’s employment and
   compensation and benefits at UM, as well as employment and compensation and benefits of
   Ms. Davidson-Shmich’s comparators. Ms. Muschett also has information about UM’s
   knowledge of and response to complaints of sex and/or compensation discrimination.


                 (9)    Linda Neider
                        contact information unknown

   Ms. Neider has information about UM’s investigations into faculty pay based on gender,
   including the Faculty Salary Analysis published by the Office of Institutional Research in
   March 2018.


                 (10)   June Teufel Dreyer
                        contact information unknown

   Ms. Teufel Dreyer has information about Ms. Davidson-Schmich’s employment and
   compensation and benefits at UM, as well as employment and compensation and benefits of
   Ms. Davidson-Shmich’s comparators.




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                (11)   Fred Frohock
                       contact information unknown

   Mr. Frohock has information about Ms. Davidson-Schmich’s employment and
   compensation and benefits at UM, as well as employment and compensation and benefits of
   Ms. Davidson-Shmich’s comparators.


                (12)   Paul Sugrue
                       contact information unknown

   Mr. Sugrue has information about Ms. Davidson-Schmich’s employment and compensation
   and benefits at UM, as well as employment and compensation and benefits of Ms.
   Davidson-Shmich’s comparators.


                (13)   Michael Halleran
                       contact information unknown

   Mr. Halleran has information about Ms. Davidson-Schmich’s employment and
   compensation and benefits at UM, as well as employment and compensation and benefits of
   Ms. Davidson-Shmich’s comparators.


                (14)   Jacqueline Dixon
                       contact information unknown

   Ms. Dixon has information about Ms. Davidson-Schmich’s employment and compensation
   and benefits at UM, as well as employment and compensation and benefits of Ms.
   Davidson-Shmich’s comparators.


   (B)   A copy—or a description by category and location—of all documents,
         electronically stored information, and tangible things that the disclosing party has
         in its possession, custody, or control and may use to support its claims or
         defenses, unless the use would be solely for impeachment:


                (1)    Charge of Discrimination dated June 5, 2018;



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                 (2)     Notice of Charge of Discrimination from EEOC to UM dated June 8,
                         2018;


                 (3)     Letter of Determination from EEOC to UM dated March 5, 2019;


                 (4)     Notice of Failure of Conciliation from EEOC to UM dated March 22,
                         2019.


   (C)    A computation of each category of damages claimed by the disclosing party—who
          must also make available for inspection and copying as under Rule 34 the
          documents or other evidentiary material, unless privileged or protected from
          disclosure, on which each computation is based, including materials bearing on
          the nature and extent of injuries suffered:


          The Commission seeks compensatory and punitive damages under Title VII of the
   Civil Rights Act of 1964 and the Civil Rights Act of 1991. The Commission seeks such
   damages for the claimant to be determined at trial, up to $300,000, as allowed by the Civil
   Rights Act of 1991.
          With regard to back pay, the Commission will seek back pay for Ms. Davidson-
   Schmich from on or about July 2016 to the present under both Title VII and the Equal Pay
   Act. EEOC will also seek liquidated damages in the amount of back pay under the Equal
   Pay Act. At this time, EEOC does not yet have the information from Defendant that is
   necessary to ascertain the precise amount of the back pay or liquidated damages sought.
   EEOC will be able to provide such an analysis after it has obtained information from
   Defendant through discovery.
          The Commission also seeks injunctive and equitable relief for Ms. Davidson-
   Schmich and to correct the unlawful employment practices of the Defendant.


   (D)    For inspection and copying as under Rule 34, any insurance agreement under
          which an insurance business may be liable to satisfy all or part of a possible



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          judgment in the action or to indemnify or reimburse for payments made to satisfy
          the judgment:


   Plaintiff is aware of no documents responsive to Fed. R. Civ. P. 26(a)(1)(D).


   (E)    EEOC reserves the right to supplement these disclosures pursuant to Federal Rule
   of Civil Procedure 26(e).



   Dated: November 1, 2019
                                              s/ Ana Consuelo Martinez
                                              Ana Consuelo Martinez
                                              Florida Bar No. 110394
                                              Trial Attorney
                                              U.S. Equal Employment Opportunity
                                              Commission
                                              Miami District Office
                                              100 SE 2nd Street, Suite 1500
                                              Miami, FL 33131
                                              Telephone: (786) 648-5791
                                              ana.martinez@eeoc.gov
                                              Counsel for Plaintiff EEOC




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